        Case 4:19-cr-00103-DN-PK Document 1 Filed 10/30/19 Page 1 of 3



JOHN W. HUBER, Unite~ States ~ttorney (#7226)                             t
                                                               :· r·,, IL. F
STEPHEN P. DENT, Assistant Umted States Attorney (DC 1034263) ·.·<, !{·P('n .
Attorneys for the United States of America                 ~.1                 · '"'i/F?T

20 North Main Street, Suite 208                           lll/9 OCT 30 ,..) 1 ~,
                                                                             t~·   ,,. ')O
St. George, Utah 84770                                         SfR•r~·r " __ . i,_. "· ·
Telephone: (435) 634-4262                                            h.' u!- u
stephen.dent@usdoj.gov




                    IN THE UNITED STATES DISTRICT COURT

                     DISTRICT OF UTAH, CENTRAL DIVISION


  UNITED STATES OF AMERICA,                 INDICTMENT

                     Plaintiff,             VIOLATIONS:

  v.                                        COUNTS I - IV: 21 U.S.C. § 841(a)(l),
                                            Distribution of Methamphetamine.
  JESUS MIRAFUENTES-VALDEZ,
                                                   Case: 4: 19-cr-000103
                   Defendant.
                                                   Assigned To : Nuffer, David
                                                   Assign. Date : 10/30/2019
                                                   Description: USA v.
       The Grand Jury Charges

                                       COUNT I
                          (Distribution of Meth amphetamine)

       On or about May 31, 2019, in the Central Division of the District of Utah,

                          JESUS MIRAFUENTES-VALDEZ,

defendant herein, did knowingly and intentionally distribute a mixture or substance

containing a detectable amount of methamphetamine, a Schedule II controlled substance

within the meaning of 21 U.S.C. § 812, in violation of 21 U.S.C. § 841(a)(l), and

                                             1
       Case 4:19-cr-00103-DN-PK Document 1 Filed 10/30/19 Page 2 of 3



punishable under 21 U.S.C. § 841(b)(l)(C).

                                      COUNT II
                         (Distribution of Methamphetamine)

     · On or about June 6, 2019, in the Central Division of the District of Utah,

                         JESUS MIRAFUE.NTES-VALDEZ,

defendant herein, did knowingly and intentionally distribute 50 grams or more of a mixture

or substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance within the meaning of 21 U.S.C. § 812, in violation of 21 U.S.C. § 841(a)(l),

and punishable under 21 U.S.C. § 841(b)(l)(B).

                                      COUNT Ill
                          (Distribution of Methamphetamine)

       On or about June 12, 2019, in the Central Division of the District of Utah,

                          JESUS MIRAFUENTES-VALDEZ,

defendant herein, did knowingly and intentionally distribute 50 grams or more of a mixture

or substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance within the meaning of 21 U.S.C. § 812, in violation of 21 U.S.C. § 841(a)(l),

and punishable under 21 U.S.C. § 841(b )(l)(B).

                                      COUNT IV
                          (Distribution of Meth amphetamine)

       On or about June 25, 2019, in the Central Division of the District of Utah,

                          JESUS MIRAFUENTES ..VALDEZ,

defendant herein, did knowingly and intentionally distribute 50 grams or more of a mixture

                                             2
       Case 4:19-cr-00103-DN-PK Document 1 Filed 10/30/19 Page 3 of 3



or substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance within the meaning of 21 U.S.C. § 812, in violation of 21 U.S.C. § 841(a)(l),

and punishable under 21 U.S.C. § 841(b)(l)(B).



                                   A TRUE BILL:




                                         lul
                                   FOREPERSON OF THE GRAND JURY


JOHN W. HUBER
United States Attorney




Assistant United States Attorney




                                           3
